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ADJUSTABLE RATE NOTE re.

(LIBOR Six-Month Index (As Published In The Wall Street Journal)-Rate Caps)

THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY INTEREST RATE AND MY
MONTHLY PAYMENT. THIS NOTE LIMITS THE AMOUNT MY INTEREST RATE CAN CHANGE AT ANY ONE
TIME AND THE MAXIMUM RATE | MUST PAY.

FEBRUARY 5, 2007 LENDER CITY, MD
[Date] [city] [State]

43 PINE BLUFF LANE, ELKTON, MD 21921
[Property Address]

1. BORROWER’S PROMISE TO PAY

{n return for a loan that | have received, | promise to pay U.S, $188,000.00 {this amount is called
“Principal”), plus interest, to the order of Lender. Lender is FIRST HOME MORTGAGE CORPORATION, A
MARYLAND CORPORATION.

| will make all payments under this Note in the form of cash, check or money order.
lunderstand that Lender may transfer this Note. Lender or anyone who takes this Note by transfer and whois entitled
to receive payments under this Note is called the “Note Holder."

2. INTEREST

Interest will be charged on unpaid principal until the full amount of Principal has been paid. | will pay interest at a
yearly rate of 9.100%. The interest rate | will pay may change in accordance with Section 4 of this Note.

The interest rate required by this Section 2 and Section 4 of this Note is the rate | will pay both before and after any
default described in Section 7(B) of this Note.

3. PAYMENTS

(A) Time and Place of Payments

| will pay principal and interest by making a payment every month.

| will make my monthly payments on the 1st day of each month beginning on MARCH 1, 2007.
| will make these payments every month until | have paid all of the principal and interest and any other charges described
below that | may owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be
applied to interest before Principal. If, on FEBRUARY 1, 2037, | still owe amounts under this Note, | will
pay those amounts in full on that date, which is called the “Maturity Date.”

| will make my monthly payments at 8003 CORPORATE DR STE A

BALTIMORE, MD 21236

or at a different place if required by the Note Holder.

(B) Amount of My Initial Monthly Payments

Each of my initial monthly payments will be in the amountof U.S. $1,441.16. This amount may change,

(C) Monthly Payment Changes

Changes in my monthly payment will reflect changes in the unpaid principal of my loan and in the interest rate that
| must pay. The Note Holder will determine my new interest rate and the changed amount of my monthly payment in
accordance with Section 4 of this Note.

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES
(A) Change Dates

The interest rate | will pay may change on the ist day of FEBRUARY, 2010 and on that day every
6TH month thereafter. Each date on which my interest rate could change is called a “Change Date.”
(B) The Index

Beginning with the first Change Date, my interest rate will be based on an Index. The “Index” is the average of
interbank offered rates for six month U.S. dollar-denominated deposits in the London market (“LIBOR"), as published
in The Wall Street Journal. The most recent Index figure available as of the first business day of the month immediately
preceding the month in which the Change Date occurs is called the “Current Index.”

If the Index is no longer available, the Note Holder will choose a new index that is based upon comparable
information, The Note Holder will give me notice of this choice.

(C) Calculation of Changes

Before each Change Date, the Note Holder will caloulate my new interest rate by adding FIVE AND
TWO-FIFTHS percentage point(s) ( 5.400% } to the Current Index. The Note
Holder will then round the result of this addition to the nearest one-eighth of one percentage point (0.125%). Subject
to the limits stated in Section 4(D) below, this rounded amount will be my new interest rate until the next Change Date.

The Note Holder will then determine the amount of the monthly payment that would be sufficient to repay the unpaid
principal that | am expected to owe at the Change Date in full on the Maturity Date at my new interest rate in substantially
equal payments. The result of this calculation will be the new amount of my monthly payment.

(D) Limits on Interest Rate Changes

The interest rate | am required to pay at the first Change Date will not be greater than 12.100% or less than

9.100%. Thereafter, my interest rate will never be increased or decreased on any single Change Date by more
than ONE percentage point(s) ( 1.000% _) from the rate of interest | have
been paying for the preceding 6 month(s). My interest rate will never be greaterthan 15.100% or
less than 9.100%.

      
 
 

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LOAN Po
(E) Effective Date of Changes

My new interest rate will become effective on each Change Date. | will pay the amount of my new monthly payment
beginning on the first monthly payment date after the Change Date until the amount of my monthly payment changes again.

(F) Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the amount of my monthly
payment before the effective date of any change. The notice will include information required by law to be given to me
and also the title and telephone number of a person who will answer any question | may have regarding the notice.

5. BORROWER’S RIGHT TO PREPAY

| have the right to make payments of Principal at any time before they are due, A payment of Principal only is known
as a “Prepayment.” When | make a Prepayment, | will tell the Note Holder in writing that | am doing so. | may not designate
a payment as a Prepayment if | have not made all the monthly payments due under this Note.

| may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will
use my Prepayments to reduce the amount of Principal that | owe under this Note, However, the Note Holder may apply
my Prepayment to the accrued and unpaid interest on the Prepayment amount before applying my Prepayment to
reduce the Principal amount of this Note. If | make a partial Prepayment, there will be no changes in the due dates of
my monthly payments unless the Note Holder agrees in writing to those changes. My partial Prepayment may reduce
the amount of my monthly payments after the first Change Date following my partial Prepayment. However, any
reduction due to my partial Prepayment may be offset by an interest rate increase.

6. LOAN CHARGES

If alaw, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest
or other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any
such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any
sums already collected from me that exceeded permitted limits will be refunded to me. The Note Holder may choose
to make this refund by reducing the Principal | owe under this Note or by making a direct payment to me. Ifa refund
reduces Principal, the reduction will be treated as a partial Prepayment.

7. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charges for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar
days after the date it is due, | will pay a late charge to the Note Holder, The amount of the charge will be 5.000%
of my overdue payment of principal and interest. | will pay this late charge promptly but only once on each late payment,

(B) Default

If | do not pay the full amount of each monthly payment on the date it is due, | will be in default.

(C) Notice of Default

if | am in default, the Note Holder may send me a written notice telling me that if | do not pay the overdue amount
by a certain date, the Note Holder may require me to pay immediately the full amount of Principal that has not been paid
and all the interest that | owe on that amount. That date must be at least 30 days after the date on which the notice is
mailed to me or delivered by other means.

(D) No Waiver By Note Holder

Even if, at a time when | am in default, the Note Holder does not require me to pay immediately in full as described
above, the Note Holder will still have the right to do so if | am in default at a later time.

(E) Payment of Note Holder’s Costs and Expenses

if the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right
to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable
law. Those expenses include, for example, reasonable attorneys’ fees.

8. GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given
by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if I give
the Note Holder a notice of my different address.

Unless the Note Holder requires a different method, any notice that must be given to the Note Holder under this Note
will be given by mailing it by first class mail to the Note Holder at the address stated in Section 3(A) above or at a different
address if | am given a notice of that different address.

9. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises
made in this Note, including the promise to pay the full amount owed. Any person whois a guarantor, surety or endorser
of this Note is also obligated to do these things. Any person who takes over these obligations, including the obligations
of a guarantor, surety or endorser of this Note, is also obligated to keep ail of the promises made in this Note. The Note
Holder may enforce its rights under this Note against each person individually or against all of us together. This means
that any one of us may be required to pay all of the amounts owed under this Note.

10. WAIVERS

| and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Holder to demand payment of amounts due. “Notice of Dishonor”
means the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

11. UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given
to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the “Security Instrument”), dated the
same date as this Note, protects the Note Holder from possible losses that might result if | do not keep the promises
that! make in this Note. That Security Instrument describes how and under what conditions | may be required to make
immediate payment in full of all amounts | owe under this Note. Some of those conditions read as follows:

   

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LOAN |
. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in the

Property” means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the
intent of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is nota
natural person and a beneficial interestin Borrower is sold or transferred) without Lender's prior written consent,
Lender may require immediate payment in full of all sums secured by this Security Instrument. However, this
option shall not be exercised by Lender if such exercise is prohibited by Applicable Law. Lender also shall not
exercise this option if: (a) Borrower causes to be submitted to Lender information required by Lender to evaluate
the intended transferee as if a new loan were being made to the transferee; and (b) Lender reasonably
determines that Lender's security will not be impaired by the loan assumption and that the risk of a breach of
any covenant or agreement in this Security Instrument is acceptable to Lender.

To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to Lender's
consent to the loan assumption. Lender also may require the transferee to sign an assumption agreement that
is acceptable to Lender and that obligates the transferee to keep all the promises and agreements made in the
Note and in this Security Instrument. Borrower will continue to be obligated under the Note and this Security
Instrument unless Lender releases Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender shall give Borrower notice of
acceleration. The notice shall provide a period of not less than 30 days from the date the notice is given in
accordance with Section 15 within which Borrower must pay all sums secured by this Security Instrument. If
Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any remedies permitted
by this Security Instrument without further notice or demand on Borrower.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.
THE PROVISIONS CONTAINED IN THE "ADDENDUM TO NOTE", SIGNED BY ALL BORROWERS NAMED
HEREIN, ARE HEREBY INCORPORATED INTO AND SHALL N

  

(Seal)

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CINDY L/ESTEP

| PAY TO THE ORDER OF
WiTHOUT acon fanidin Financia! .
| FRSTHOME MORTARS CORP Corporation
ASSISTANT VICE PRESIDENT -
Pay to the order of:

DARLENE KOULEPIS Without Recourse

First Franklin Financial Corporation

Marty E Genover
Collateral Specialist

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